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                    Exhibit A
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STATE OF SOUTH CAROLINA               )     IN THE COURT OF COMMON PLEAS

COUNTY OF SPARTANBURG                 )
Alicia Jones,

        Plaintiff,
                                      )
                                      )
                                      )
                                             Civil Action No.    15-CP-42-~r:ii
                                     )
vs.                                   )      SUMMONS
                                      )
The Pantry, Inc., d/b/a Kangaroo      )
Express,                              )
                                     )
        Defendant.                    )

TO THE DEFENDANT ABOVE-NAMED:

        YOU ARE HEREBY SUMMONED and required to answer the complaint herein, a copy
of which is herewith served upon you, and to serve a copy of your answer to this complaint upon
the subscriber, at the address shown below, within thirty (30) days after service hereof, exclusive
of the day of such service, and if you fail to answer the complaint, judgment by default will be
rendered against you for the relief demanded in the complaint.                                        .....,
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Dated this the 3'd day ofSeptembcr, 2015.                                              E;           ....V),
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                                             ~/~ /h.                        PlL ~ei
                                             Scott F. Talley                    .. N
                                             Shannon M. Phillips
                                             Talley Law Firm, P.A.
                                             2500 Winchester Place, Suite 100
                                             Spartanburg, SC 29301
                                             Attorneys for Plaintiff
      7:15-cv-04131-TMC           Date Filed 10/02/15         Entry Number 1-1       Page 3 of 10




STATE OF SOUTH CAROLINA                   )      IN THE COURT OF COMMON PLEAS

COUNTY OF SPARTANBURG                     )

Alicia Jones,

        Plaintiff,
                                          )
                                          )
                                          )
                                                   Civil Action No. J5-CP-42-   f0164
                                          )
vs.                                       )        COMPLAINT
                                          )
The Pantry. Inc. d/b/a Kangaroo           )
Express,                                  }
                                          }
        Defendant                         }

        Alicia Jones (hereafter "Plaintiff'), by and through her undersigned attorney, hereby

complains ofthe Defendant and would respectfully show unto this Court as follows:

          1. Plaintiff is a resident of Spartanburg County, South Carolina.

          2. Defendant Kangaroo Express (hereafter "Defendant") is, upon information and

                belief: a corporation incorporated pursuant to the laws of the State of North Carolina

                with its principal place of business in North Carolina. Defendant operates numerous

                stores in Spartanburg County, South Carolina.

          3. Venue and jurisdiction are proper in this Court.                                    ~j
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          4. Plaintiff worked as a full-time employee for Defendant for         appro~ly ~~n
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                years. first as a store clerk and then as a lead assistant.             F- "                 ::r.:
                                                                                       r,·j                  ~
          5. In the summer of20l3, Plaintiff's store manager began sexually haraS'Smgd!l:r. "

          6. The store manager, Kelvin Browning, would send Plaintiff sexually suggestive text

                messages, physically assaulted Plaintiff, and threatened to rape Plaintiff.

          7. Plaintiff complained about Mr. Browning's behavior, and was transferred to another

                store.
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    8. Upon information and belief, Defendant knew Mr. Browning was a sexual predator

       and negligently allowed him to continue working for Defendant.

    9. At the second store, Plaintiff worked for June Wing and was allowed less hours of

       working time than she had received at the first store.

    10. As a result, Plaintiff's pay was decreased.

    II . Plaintiff believes the reduction in hours she received was in retaliation for her filing

       a sexual harassment complaint.

    12. June Wing knew about Plaintiff's sexual harassment complaint, and repeatedly

       mocked Plaintiff.

    13 . For example, Ms. Wing made sexually suggestive comments to Plaintiff. Ms. Wing

       would slap Plaintiff on the posterior and say,    ~You   don't have a claim because the

       camera didn't catch me."

    14. As a result of this retaliatory and harassing treatment, Plaintiff requested 8 transfer to

       a new store, which she received.
                                                                                         ......                ......,
    15. Plaintiff was transferred to a store in which the store manager, Janice Bra'dley, $d a .
                                                                                  c_:: (.-') ..
                                                                                        -,             iT'
       strong reputation for unfairly firing workers.                                  r .;           -tJ
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    16. Ms. Bradley also knew of Plaintiff's situation, and told Plaintiff that if.~lainfijfhad
                                                                                 .                -.
                                                                                                  "-; ..                 '




       a complaint with her, Plaintiff had better come to her before gofrii to '*wril!D

       Resources, or work would "get really bad" for Plaintiff.
                                                                                   ,          -
                                                                                              c..v                   .


    17. Ms. Bradley accused Plaintiff of stealing and threatened to write Plaintiff up for

       stealing, when such accusation was wholly unfounded.

    18. Plaintiff's coworker printed offan email Ms. Bradley sent to another manager, stating

       that Plaintiff was a "problem" and asking that Plaintiff be removed from the store.
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    19. Plaintiff was fired and told that she violated store policy by possessing a printed copy

        of the e-mail. Plaintiff knows of no policy against having a printed copy of an e-

        mail.

    20. No other employee, including the employee who actually printed the e-mail, was

        likewise disciplined.

    21. Upon infonnation and belief, Ms. Bradley was later terminated for theft from

        Defendant.

    22. Plaintiff was sexually harassed and retaliated against for reporting the same to

        Defendant.

                        FOR A FIRST CAUSE OF AcrION
                      (Violation of Title VII-Sexual Harassment)

    23. Plaintiff incorporates herein her previous allegations.

    24. Defendant's store managers Browning and Wing engaged in severe and pervasive,

        unwelcome advances toward Plaintiff of a sexual nature.

    25. Plaintiff was sexually harassed based on her sex.

    26. Defendant's conduct was discriminatory, insulting. and abusive.
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    27. Defendant's actions have caused Plaintiff damages.                                         '-->
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                      FOR A SECOND CAUSE OF AcrION
                          (Violation of Title VII-Retaliation)
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    28. Plaintiff incorporates herein her previous allegations.

    29. Defendant terminated Plaintiff because she complained about sexual harassment al
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       Defendant's stores.

    30. Defendant's wrongful actions have caused Plaintiff damages.
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                              FOR A THIRD CAUSE OF ACTION
                                   (Wrongful Termination)

         31 . Plaintiff incorporates herein her previous allegations.

         32. It is a matter of public policy that an employee should not be terminated for a reason

             in violation of public policy.

         33. It is a matter of public policy that an employee should not be discriminated against

             or harassed based on her sex.

         34. Defendant discriminated against and terminated Plaintiff in violation of public policy

             and federal and state laws.

         35. Defendant's actions have caused Plaintiff to suffer damages.

                            FOR A FOURTH CAUSE OF ACTION
                                    (Breach of Contract)

         36. Plaintiff incorporates herein her previous allegations.

         37. Plaintiff and Defendant had a valid contract regarding Plaintiff s terms and conditions

             of employment.

         38. Plaintiff performed under the parties' agreement by perfonning her job cb!.ties~
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         39. Defendant breached the parties' agreement when it violated its own pqllcies ~d the
                                                                                  .,    c:..:

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             law by terminating Plaintiffs employment for reporting sexual harassment.,='?
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         40. Plaintiff has been damaged by Defendant's actions.
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       Wherefore. having set forth its complaint, Plaintiff prays that she recover a judgment

against Defendants for actual, punitive, and consequential damages, together with costs and

attorneys fees. and interest; and for such other and further relief as the Court deems just and proper.
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Dated this the 3111 day of September, 2015.



                                              TALLEY LAW FIRM, P.A.




                                                6~W-#~
                                              Scott F. Talley
                                              Sharmon M. Phillips
                                              2500 Winchester Place, Suite 100
                                              Spartanburg, South Carolina 29301
                                              864-595-2966
                                              Attorneys for Plaintiff




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STATE OF sourn CAROLINA                 )
                                        )                     VERIFICATION
COUNTY OF SPARTANBURG                   )


       Personally appeared before me Alicia Jones, who, being by me first duly sworn, states that

she is the Plaintiff in the foregoing action; that she has read the foregoing Complaint; that she has

knowledge of the facts set forth herein and that the statements contained therein are true to the best

of her knowledge except as to those stated to be based upon information and belief, as to which,

she believes such matters to be true.



                                                      Ck Q~Q:C-.. <:::\~
                                                              Alicia Jones \

SWORN to before me this       ;)rJ~
day of August, 2015.

 ~~(SEAL)
Notary Public for South Carolina
My commission expires: /-/'3-;rt



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                                                                                    --          -
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STATE OF SOUTH CAROLINA                                                          )
                                                                                 )             IN THE COURT OF COMMON PLEAS
COUNTY OF SPAATANBURG                                                            )
                                                                          )
ALICIA JONES.                                                             )                          CIVIL ACTION COVERSHEET

                                                                                                                                      ~/d1
                                                            Plaintiff( 5) )
                                                                                 )                              20l6-CP-42-
                                    VS.                                          )
                                                                                 )
TIlE PANTRY, INC., D/B/A KANGAROO EXPRESS,         )
                                      Defendant(s) )
SlIbmitted By: Shannon II. Phillips                                                        SC Bar II:                100852
Address: 2SOO Wlacbester PI, Suite 100                                                     Telepbo •• II:            864-59S-29(i(i
Spartaobu"" SC 2!lJOJ                                                                      Fax II:                   864-59S-2969
                                                                                           Other:

NOTE: Tbe e.vCl'SlMet .ad iafonaatioa coataiaed            .RiII                            E-m.U:                   sbannoa@talJeylawftrm.eom
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required by 11",_ This fonn is reqlircd fer Clle lISt orthe Clerk ore•• " for die p • ...,... 01 dockttioe. It ••at be filled out UMpltleiy, 'IInd,
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                                            DOCKETING INFORMATION (Oed .111"111 apply)
                                                 ·IfAction Is JudgllWltlSettlemml do 110/ ClJmplete
~ JURy TRIAL demanded in complaint.           0 NON..JURY TRIAL demanded in complaint. :J: ~
o This case is subject to ARBITRATION pursuant to the Coun Annexed Alternative Dispute Resolutiorl.B.ulesC:;;
~ This case is subject to MEDIATION pursuant to the Coun Annexed Alternative Dispute Resolution Ms. fq
o This case is exempt from ADR. (Proof of ADRlExemption Attached)                                ~.      ~
                                 NATURE OF ACTION (Check One Box BeIowl                          ..      ~

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                                                                                     Approval (780)
0         Medical (620)             0       OUt-ofShII< Depositions (6l0)    o       Othcr(799)
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                                            an OUt-ol-County Action (660)
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       SubmlttlDg Party Sipature:               ~ /h- ~                                                        Date:      91$12015

Note: Frivolous civil proceedings may be subject to sanctions pursuant to SCRCP, Rule I), and the South Dsrolina Frivolous
Civil Proceedings Sanctions Act, S,C, Code Ann, §IS·36·IOet. seq,



SCCA 1234 (0612013)                                                                                                    Page lof2
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                                                     Common Pleas
                                                Clerk: M Hope Blackley
                                                 Spartanburg County
                                                Spartanburg, SC 29304
                                                    j864) 596-2591
Received From :   Phillips. Shannon Metz                                               Date: 91 3/2015
                  2500 Winchester PI. Suite 100                                    Receiot #: 91458
                  Spartanburg. SC 29301                                               Clerk: c42scousin
Paying for:       Jones, Alicia
Transaction Type: Payment                                  Reference # : 3449
Payment Type:     Check                    $150.00            Comment: New Case
                                                         Non-Refundable
Total Paid:                               $150.00




Total Received:                           $150.00
Change Due :                                $0.00

    Case #                           Caotion                        Previous Balance    Amount Paid       Balance Due
 2015CP4203754       Alicia Jones VS The Pantry Inc Dba                       $150.00        $150.00             SO.OO




      Total Cases:   1                                                        $150.00       $150.00             $0.00




                                               ReceiptSi ngleCase.rpt V6. 1
